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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE



SECURITIES AND EXCHANGE COMMISSION,

                                     Plaintiff,
                                                              C.A. No. 2:13-CV-2153
                          v.
                                                             Judge Samuel H. Mays, Jr.
MICHAEL DALE LACKEY,
                                                             Magistrate Judge Tu M.
                                     Defendant.              Pham



         FINAL JUDGMENT AS TO DEFENDANT MICHAEL DALE LACKEY

       The Securities and Exchange Commission having filed a Complaint and Defendant

Michael Dale Lackey having entered a general appearance; consented to the Court’s jurisdiction

over Defendant and the subject matter of this action; consented to entry of this Final Judgment

without admitting or denying the allegations of the Complaint (except as to jurisdiction); waived

findings of fact and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                  I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and

Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:
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       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

                                                II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 14(e) of the Exchange

Act [15 U.S.C. § 78n(e)] and Rule 14e-3 [17 C.F.R. § 240.14e-3] promulgated thereunder, in

connection with any tender offer or request or invitation for tenders, from engaging in any

fraudulent, deceptive, or manipulative act or practice, by:

       (a)     purchasing or selling or causing to be purchased or sold the securities sought or to

               be sought in such tender offer, securities convertible into or exchangeable for any

               such securities or any option or right to obtain or dispose of any of the foregoing

               securities while in possession of material information relating to such tender offer

               that Defendant knows or has reason to know is nonpublic and knows or has

               reason to know has been acquired directly or indirectly from the offering person;

               the issuer of the securities sought or to be sought by such tender offer; or any

               officer, director, partner, employee or other person acting on behalf of the

               offering person of such issuer, unless within a reasonable time prior to any such

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           purchase or sale such information and its source are publicly disclosed by press

           release or otherwise; or

     (b)   communicating material, nonpublic information relating to a tender offer, which

           Defendant knows or has reason to know is nonpublic and knows or has reason to

           know has been acquired directly or indirectly from the offering person; the issuer

           of the securities sought or to be sought by such tender offer; or any officer,

           director, partner, employee, advisor, or other person acting on behalf of the

           offering person of such issuer, to any person under circumstances in which it is

           reasonably foreseeable that such communication is likely to result in the purchase

           or sale of securities in the manner described in subparagraph (a) above, except

           that this paragraph shall not apply to a communication made in good faith

                  (i)     to the officers, directors, partners or employees of the

                          offering person, to its advisors or to other persons, involved

                          in the planning, financing, preparation or execution of such

                          tender offer;

                  (ii)    to the issuer whose securities are sought or to be sought by

                          such tender offer, to its officers, directors, partners,

                          employees or advisors or to other persons involved in the

                          planning, financing, preparation or execution of the

                          activities of the issuer with respect to such tender offer; or

                  (iii)   to any person pursuant to a requirement of any statute or

                          rule or regulation promulgated thereunder.



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                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)], Defendant is prohibited, for five years

following the date of entry of this Final Judgment, from acting as an officer or director of any

issuer that has a class of securities registered pursuant to Section 12 of the Exchange Act [15

U.S.C. § 78l] or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15

U.S.C. § 78o(d)].

                                                IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement of $56,533.89, representing profits gained as a result of the conduct

alleged in the Complaint, together with prejudgment interest thereon in the amount of $2,942.26,

and a civil penalty in the amount of $56,533.89 pursuant to Section 21A of the Exchange Act.

Defendant shall satisfy this obligation by paying $116,010.04 to the Securities and Exchange

Commission within 14 days after entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169


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and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Michael Dale Lackey as a defendant in this action; and specifying that payment is

made pursuant to this Final Judgment.

         Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury.

         The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 14 days following entry of this Final Judgment. Defendant shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                      V.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                      VI.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


Dated:     May 6, 2013

                                               s/ Samuel H. Mays, Jr.
                                              UNITED STATES DISTRICT JUDGE



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